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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: UPPLEMENTAL
-Ve- : PROTECTIVE ORDER
JOAO DJALMA PRESTES JUNIOR, ; 20 Cr. 416 (ISR)

a/k/a “Joao Pereira,” ;
Defendant.

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JED S. RAKOFFP, District Judge:

WHEREAS, JOAO DJALMA PRESTES JUNIOR, a/k/a “Joao Pereira,” the
defendant, has made a request for certain records and papers used in connection with the
constitution of the Master and Qualified Jury Wheels in the United States District Court for the
Southern District of New York (the “Jury Records”), pursuant to the Fifth and Sixth
Amendments to the United States Constitution and the Jury Selection and Service Act, 28 U.S.C.
§§ 1867(a) and (f);

WHEREAS, the Jury Administrator of the Southern District of New York (the
“Jury Administrator”) has indicated that certain Jury Records reveal personal identifying
information that would be burdensome to redact (“Sensitive Information”);

WHEREAS, in the interest of expediting the process by which the defendant
receives the Jury Records, the defendant, by his attorney, Lorraine Gauli-Rufo (“Defense
Counsel”), consents to the entry of this Order;

WHEREAS, pursuant to 28 U.S.C. § 1867(f) and subject to the additional

limitations set forth below, the Jury Records provided to the parties shall not be disclosed to third

 
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parties except “as may be necessary in the preparation or presentation of a motion” under 28
U.S.C. § 1867(a), (b), or (c);

IT IS ORDERED that, pursuant to 28 U.S.C. § 1867() and consistent with the
additional limitations set forth in this Protective Order, the parties shall be allowed to inspect,
reproduce, and copy the Jury Records at all reasonable times during the preparation and
pendency of a motion under 28 U.S.C. § 1867(a), (b), or (c);

IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1867(), any person
who discloses the Jury Records in violation of 28 U.S.C. § 1867(1) shall be subject to potential
penalties as set forth in that provision;

IT IS FURTHER ORDERED that each of the individuals to whom disclosure of
the Jury Records is made (including anyone providing legal, investigative, secretarial,
technological, clerical, paralegal, or other support services in connection with this criminal
action and who is employed by, engaged by, advising or otherwise working at the direction of
the parties, as well as any students or interns working for counsel) shall be provided a copy of
this Protective Order by counsel; shall be advised by counsel of the terms and conditions and
legal ramifications of this Protective Order, including that he or she shall not further disseminate
or discuss the Jury Records and must follow the terms of this Protective Order, and that the Court
can enforce the Protective Order against the person to whom the Jury Records are disclosed; and
shall confirm to counsel that he or she will abide by the terms of the Protective Order;

IT IS FURTHER ORDERED that all Jury Records are to be provided to the
defendant, and used by Defense Counsel, solely for the purpose of allowing the defendant to

prepare a motion under 28 U.S.C. § 1867, and that none of the Jury Records shall be used in any

 
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manner nor disseminated to any other third party in a manner that is inconsistent with the
preceding paragraphs,

IT IS FURTHER ORDERED that, at the conclusion of this case, Defense Counsel
shall return to the Jury Administrator all copies of the Jury Records provided in this case,
together with any and all copies thereof, or shall take all reasonably practicable steps to destroy
such records, together with any and all copies thereof, which destruction Defense Counsel shall
verify in writing;

IT IS FURTHER ORDERED that, the provisions of this Protective Order shall
not be construed as preventing the disclosure of any information in any motion made under 28
U.S.C. § 1867, provided that redactions are made pursuant to Fed. R. Crim. P. 49.1 and ECF

Rules & Instructions prior to any public filing.

 
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AGREED AND CONSENTED TO:

Loraine Paubukiiyge 10/14/2020

Lorraine Gauli-Rufo Date
Defense Counsel

AUDREY STRAUSS
Acting United States Attorney

By: Llak Logomen October 14, 2020

Micah F, Fergenson Date
Assistant United States Attorney

SO ORDERED:

HON. JEB S. RAKOFF ~~ Date

UNITED STATES DISTRICT JUDGE

 

 
